4:08-cr-03082-RGK-CRZ                 Doc # 61         Filed: 04/04/11    Page 1 of 1 - Page ID # 138




                              IN THE UNJTED STATES DISTRICT COURT                          2011 APR -4 AM fO: 18
                                  FOR THE DISTRICT OF NEBRASKA
                                                                                           .OFfICE OF THE ClERf(
UNJTED STATES OF AMERICA,                          )
                                                   )
                         Plaintiff,                )           4:08CR3082.. RGK . .CRZ-2
                                                   )
                         v.                        )                  ORDER
                                                   )
KELLI LARSON,                                      )
                                                   )
                         Defendant.                )




       This matter came on for a hearing upon the receipt of cashiers check by the Clerk of the
District Court for the District of Nebraska in the amount of $5,000 for payment made pursuant to
an agreement for pretrial diversion in Case Number 4:08CR3082. It is ordered that the Clerk of
the District Court deposit the check and hold the funds until judgment in the criminal case is
filed or until further order by the court regarding disposition of the funds.

       Dated this 4 th         day of JiIIiJiIl 2011.
                                     April




                                                            United States District Judge

Approved as to form:



~~~
STEVEN A. RUSS L, ##16925
Assistant United States Attorney



_______--'---~t-t-~~ .
                   ~,#18239
Anomey for Defendant
